4:02-cr-03158-RGK-DLP      Doc # 143    Filed: 07/05/05   Page 1 of 2 - Page ID # 541




                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )
                                          )          4:02CR3158-2
                   Plaintiff,             )
                                          )
      vs.                                 )          MEMORANDUM
                                          )          AND ORDER
ALI ABDUL-AZEZ SOFYAN,                    )
                                          )
                   Defendant.             )

       While I have reservations about whether the defendant has made the required
“substantial threshold showing” necessary to require an evidentiary hearing, and while
I decline to answer that question now, I believe that a response and a brief from the
government would be helpful at this stage of the proceedings. Therefore,

      IT IS ORDERED that:

      1.     The government is requested to submit a response to the statement of the
             defendant regarding threshold showing in support of motion to compel
             the filing of a motion to reduce sentence (filing 142) admitting, denying,
             clarifying or supplementing the recitation of facts set forth in the
             defendant’s statement (filing 142). It would be preferable if the
             government’s response was in the form of an affidavit sworn to under
             penalty of perjury, but it may be made on information and belief.

      2.     The government is requested to submit a separate brief discussing
             whether a substantial threshold showing has been made by the defendant
             sufficient to require an evidentiary hearing.

      3.     The response and brief requested above should be submitted on or before
             the close of business on Tuesday, July 18, 2005.
4:02-cr-03158-RGK-DLP    Doc # 143    Filed: 07/05/05   Page 2 of 2 - Page ID # 542




     4.    My office shall calendar this matter and bring it to my attention on July
           19, 2005.

     July 5, 2005.                      BY THE COURT:

                                        s/ Richard G. Kopf
                                        United States District Judge
